948 F.2d 1337
    292 U.S.App.D.C. 229
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.Arthur MORELLO, Appellantv.DEPARTMENT OF JUSTICE, et al.
    No. 90-5378.
    United States Court of Appeals, District of Columbia Circuit.
    Nov. 4, 1991.
    
      Before HARRY T. EDWARDS, SILBERMAN and STEPHEN F. WILLIAMS, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of the motion for summary affirmance and the opposition thereto, it is
    
    
      2
      ORDERED that the motion be granted.   Appellant has failed to exhaust his administrative remedies because he has failed to pay the applicable fees under the Freedom of Information Act.   See Crooker v. CIA, 577 F.Supp. 1220 (D.D.C.1984).   The merits of the parties' position are so clear as to justify summary action.   See Taxpayers Watchdog, Inc. v. Stanley, 819 F.2d, 294, 297 (D.C.Cir.1987) (per curiam);   Walker v. Washington, 627 F.2d 541, 545 (D.C.Cir.)  (per curiam), cert. denied, 449 U.S. 994 (1980).
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir. Rule 15.
    
    